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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO
                                     Magistrate Judge Craig B. Shaffer

  Civil Action No. 06-cv-01840-WDM-CBS

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  ROBERT J. NELSON,

         Defendant.


                                           MINUTE ORDER


  ORDER ENTERED BY MAGISTRATE JUDGE CRAIG B. SHAFFER

          IT IS HEREBY ORDERED that Plaintiff’s Motion to Strike Attachment 2 to Complaint (doc. no.
  3) is GRANTED. Attachment Number 2 to Plaintiff’s Complaint (doc. no. ) is STRICKEN from the
  record.

  DATED:              October 24, 2006
